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FILED FOR RECORD 1161512021 1436-2
Angel P. ignite, DY CLEAR ee
JEFFERSCM PLISH, Lé

2478 JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

DOCKET NO. 3 Dd. 3044

JENNIFER RAVAIN, INDIVIDUALLY,
AND ON BEHALF OF HER MINOR CHILD,

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VERSUS : ). DIVISION

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OCHSNER MEDICALCENTER KENNER, LLC,
JEFFERSON PARISH SCHOOL BOARD, AND

EAST JEFFERSON HIGH SCHOOL JUDGE

HHA KIKI IR IKI RIKI IIE KIKI SERIA I IIR RIA ISIN IIIS ARE SERIE REISE ERE EEE EERE
PETITION FOR DAMAGES
COMES NOW, Plaintiffs, who respectfully aver:

PARTIES

The Plaintiffs are:

JENNIFER RAVAIN, a person of the full age of majority who is a resident of Kenner,

Louisiana in the Parish of Jefferson, individually, and on behalf of her minor child,

Defendants are:

Ochsner Medical Center — Kenner, L.L.C., a private non-profit regional health system
doing business in Jefferson Parish (hereinafter sometimes referred to as “Ochsner”,

Jefferson Parish School Board, a public entity created and organized under the laws of the
State of Louisiana and authorized to oversee and control all public schools within its jurisdiction;
and,

East Jefferson High School (hereinafter sometimes referred to as “East Jeff’), a public

" school operating in Kenner, Louisiana and under the direct control of Jefferson Parish School

Board.

EXHIBIT 1
 

 

 

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FACTS
3.
Plaintiff, ay 16 years of age and at all pertinent times herein attended East
Jefferson High School.

On the morning of October 20, 2021, as sitting in his home room class at

 

East Jefferson High School when an “all call” went out over the PA system inviting students to go
to the Ochsner mobile vaccine unit if they wanted to receive a COVID shot.
5.

After hearing the “all call”, Plaintiff his home room and went outside

to the parking lot where the Ochsner mobile unit was located. However, before approaching the

 

6.

approached the Ochsner mobile unit, he was met by two

 

nurses who took his basic information such as name and date of birth. No medical history was
taken on Plaintiff, and no vital signs were taken. Plaintiff was then given a consent form and told
to sign his name where a parent of an underage child would be required to sign and to print his
name and date the form. Plaintiff then asked the nurses when he would be scheduled to receive
the shot as he was under the impression he was just signing up for the shot, and was only there to
investigate as he wanted to discuss the issues with his mother. He was told that he would receive
the shot right then and there. Being a teenager, Plaintiff did not know what to do, and the shot was
immediately administered.
SUMMARY OF ACTION
7.

Good intentions notwithstanding, Defendants are overstepping their legal, moral and
ethical bounds by violating rights guaranteed by the Louisiana Constitution (La. Const. art. I, § 5),
codified by statute (La. R.S. 40:1159.7) and long-recognized by the Louisiana Supreme Court. See
Hondroulis v. Schuhmacher, 553 So. 2d 398, 414 (La. 1989) (holding that Article 1, § 5 establishes

the right to decide whether to obtain or reject medical treatment); Snider v. Louisiana Medical
 

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Mut. Ins. Co., 2013-0579 (La. 12/10/13); 130 So.3d 922, 930 (“The informed consent doctrine is ,
based on the principle that every human being of adult years and sound mind has a right to
determine what shall be done to his or her own body.”).

z 8.

It is the legal and moral responsibility of health care workers to educate individual patients
regarding the potential benefits and risks of medical treatment, This responsibility is required by
statute (See La. R.S. 40:1159.1 ef seq, Louisiana Medical Cansent Law) and rooted in the right to
individual privacy under Article I, Section 5 of the Constitution of Louisiana. La. Const. art. 1, §
5,

9.

Obtaining informed consent to medical treatment is an individualized process and cannot
be accomplished by generalizations or mandates. As explained by the Louisiana Supreme Court,
“[w]ithout pertinent case-spécific information patients would lack the capacity to reason and make
judgments on their own. They would therefore be deprived of the freedom to personally decide
intelligently, voluntarily and without coercion whether to undergo the recommended treatment.” .
Snider, 130 So.2d at 930 n.7. $

10.

In the early phase of the “novel”! COVID-19 pandemic, there was little information
available to healthcare providers concerning virus on which to advise patients. Thus, treatment
recommendations were heavily influenced by a better-safe-than-sorry approach, rather than a
traditional risks-benefits analysis based on mature medical science. This is no longer necessary.

11.

Information gained from over 225,000,000 cases of COVID-19 worldwide and a trove of
highly authoritative information on a wide range of COVID-19 issues has revealed certain
indisputable truths about COVID-19:

a. The virus is highly transmittable, spreading like wildfire around the globe despite
unprecedented efforts to slow transmission;

1 COVID-19 was labeled “novel” soon after the first reports of infection, and the description
became a fixture for describing the disease. FEMA now describes a “Novel Pandemic” as
follows: “A novel (new) virus, like Coronavirus Disease of 2019 (COVID-19), can emerge from
anywhere and quickly spread around the world. It is hard to predict when or where the next
novel pandemic will emerge.” https://community.fema.gov/ProtectiveA ctions/s/article/Novel-

Pandemic-When
 

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b. The severity of symptoms and the risk of severe disease from exposure vary by
patient population and is largely dependent on individual health and resiliency;

c. Eradication is impossible because the virus is airborne and mutates;

d. Immunity can be obtained naturally, by recovery from the virus, and by
administration of vaccines; and

e. There are multiple therapeutic options.
12.

Health care provides are now able to competently inform patients about the disease and
treatment options.

13,

Among the open issues concerning COVID-19 is the subject of vaccines, including the
individual benefits and risks in general and as measured against, and in addition to, natural
immunity. There are thousands of authoritative opinions on the subject, many directly at odds.
Although many in the government apparatus may have reached a consensus regarding the benefits
and risks of the vaccines, a large percentage of medical scientist and healthcare providers plainly
have not. Simply put, there is a raging debate and the outcome remains uncertain.

14,

There is no one-size-fits-all recommendation for patients contemplating vaccination for
COVID-19. As explained by medical commentator Dr. Marc Siegel, “Follow the science’ is an
expression that has been overused and misused by politicians and the news media during the
COVID pandemic, even as they jump to non-scientific conclusions.” See “’Follow the science’ is
complicated when it comes to who gets a COVID vaccine and when” at
https://ca.movies.yahoo.com/science-complicated-comes-gets-covid-.

15.

Blind or biased advocacy is irresponsible ‘and threatens the fabric of the relationship

between healthcare providers and patients. See “Coronavirus: F ive Reasons Public Health Experts

Have Lost Credibility,” American Council on Science and Health, at

https://www.acsh.org/news/2020/07/16/ coronavirus-five-reasons-public-health-experts-have-

lost-credibility-14915.
16.

In 2020, the United States Food and Drug Administration (FDA) granted “Emergency Use

Approval” (BUA) for three COVID-19 vaccines currently available in the United States.
 

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Pfizer-BioNTech (two-dose vaccine)

Moderna (two-dose vaccine)

Jansen (Johnson & Johnson, one-dose vaccine)

(Collectively, the “COVID Vaccines”),”
17.
Early promotions about the benefits of the COVID Vaccines were overstated.
18.

First, contrary to early reports, it has been proven beyond doubt that the COVID-19
Vaccines do not prevent transmission of the virus. President Biden’s hasty assurance earlier this
year that “If you’re fully vaccinated you can take your mask off” quickly unraveled after several
high-profile outbreaks involving vaccinated persons. One of those outbreaks, reported by the
Center for Disease Control and Prevention (CDC),? involved 346 fully vaccinated persons (of a
total of 469), leading the CDC to issue “updated guidance” on July 27 recommending that
everyone--vaccinated and unvaccinated--wear a mask in high transmission areas.* On August 26,
the CDC issued guidance on the “delta variant,” reporting that “[fJully vaccinated people with
Delta variant breakthrough infections can spread the virus to others.”

19.

Public officials quickly responded to CDC’s call for retreat on claiming vaccines prevent
transmissions. On August 2, 2021, Louisiana Governor Jon Bel Edwards re-instituted a mask
mandate in Louisiana. At the new conference, the Governor emphasized that the COVID Vaccines
do not prevent transmission, stating: “Based on recent CDC data, vaccinated people who do get
infected have just as much virus in their systems as unvaccinated people, meaning they can likely

spread the virus simply because of the power of the delta variant.” The Governor’s top health

2 On August 23, 2021, the FDA granted full approval of the Pfizer-Comirnaty vaccine marketed
in Europe, and declared it “interchangeable” with the Pfizer-BioNTech marketed in the U.S.
Pfizer-BioNTech, itself, has not been fully approved and continues under the EUA designation.
It is not clear how the Pfizer-Comirnaty “full approve” actually impacts the Pfizer-BioNTech
EUA designation See https://www.washingtonpost.com/politics/202 1/08/30/false-claim-that-
fully-approved-pfizer-vaccine-lacks-liability-protection/

3 See “Outbreak of SARS-CoV-2 Infections, Including COVID-19 Vaccine Breakthrough,
Infections, Associated with Large Public Gatherings — Barnstable County, Massachusetts, July

2021 (CDC),” https://www.cde.gov/mmwz1/volumes/70/wr/mm7031e2.htm?s_cid=mm7031e2_w

4 See https://Awww.cdc, gov/coronavirus/2019-ncov/vaccines/fully-vaccinated-guidance. html

5 See https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html
 

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advisor, Dr, Joseph Kanter, added: “{I]f you are fully vaccinated and do become infected, then you
can still relatively transmit the virus” and that “you will have just as much virus in your body as
the early days of the pandemic as someone who was unvaccinated.”®

20.

Second, early reports about the efficacy and durability of the COVID-19 Vaccines have
been called into question.? By most accounts, it appears the vaccines may not be as effective as
originally promoted and that “booster” shots will be needed to reinforce durability. See “Pfizer’s
CEO says Covid vaccine effectiveness drops to 84% after six months,” at
https://www.cnbe.com/202 1/07/28/pfizers-ceo-says-covid-vaccine- effectiveness-drops-to-
84percent-after-six-months.html; “Moderna says a study showed falling COVID-19 immunity
over time and a need for boosters - even though most ‘breakthrough’ infections weren't severe,”
https://Awww.msn.com/en-us/health/medical/moderna-says-a-study-showed-falling-covid-19-

ity-over-time-and-a-need-for-boosters-even-though-most-breakthrough-infections-werent-

   

severe/ar-AAOvzZNi?7li=BBnb7Kz. See also “Some vaccines last a lifetime. Here’s why COVID-
19 vaccines don’t,” at https://www.wsj.com/articles/some-vaccines-last-a-lifetime-heres-why-
covid-19-shots-dont-11631266201.

21.

Additionally, several studies indicate that natural immunity may provide superior
protection than the COVID-19 Vaccines, contrary to earlier reports. Early last month, the CDC
reported that a study from Kentucky involving 246 patients demonstrated that vaccinated patients
are 2.34 times Jess likely to be reinfected than previously infected persons with natural immunity.
See https://www.cde.gov/media/releases/202 1/s0806-vaccination-protection. html.

22.

However, two weeks later, a study from Israel involving 74,000 cases reported just the

opposite, that “natural. immunity confers longer lasting and stronger protection against infection,

symptomatic disease and hospitalization caused by the Delta variant of SARS-CoV-2, compared

®See Gov. Edwards Press Conference 08/02/2021, LOUISIANA PUBLIC BROADCASTING
(AUGUST 2, 2021), https://www.youtube.com/watch?v=UzxWZ8qe0oU.

7 See “COVID-19 vaccine effectiveness changing with Delta predominance” at
https://medicalxpress.com/news/2021-09-covid-vaccine-effectiveness-delta-predominance.html;
 

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to the BNT162b2 two-dose vaccine-induced immunity.”®

https://www.medrxiv.org/content/10.1101/2021.08.24.21262415vi. According to the Israeli
study, a person with natural immunity is 27 times less likely to be reinfected than a vaccinated
person.

23.

In addition, a recent study by Rockefeller University supports that natural immunity has
superior durability when comparing “memory B” cells produced in response to both infection and
the vaccines. As explained by Dr. Michel C, Nussenzweig, Senior Physician Investigator at the
Howard Hughes Medical Institute: “Vaccination produces greater amounts of, circulating
antibodies than natural infection. But [the Rockefeller] study suggest that not all memory B cells
are created equal. While vaccination gives rise to memory B cells that evolve over a few weeks,
natural infection births memory B cells that continue to evolve over several months, producing
highly potent antibodies adept at eliminating even viral variants.” See

https://www.rockefeller.edu/news/3 0919-natural-infection-versus-vaccination-differences-in-

covid-antibody-responses-emerge/.”

24,

The CDC’s remarkably ambivalence on this emerging data has led to harsh criticism in the
medical community. See “Covid Confusion at the CDC” at https://www.wsj.com/articles/covid-
-failure-11631548306

19-coronavirus-breakthrough-vaccine-natural-immunity-cdc-fauci-biden:

       

25.
In terms of benefits, the spectrum for vaccines involves “three tiers” as recently explained
in The Wall Street Journal article titled “Some vaccines last a lifetime. Here’s why COVID-19

vaccines don’t”:

The goal of a vaccine is to provide the protection afforded by natural infection, but
without the risk of serious illness or death. “A really good vaccine makes it so someone
does not get infected even if they are exposed to the virus,” said Rustom Antia, a biology
professor at Emory University who studies immune responses. “But not all vaccines are
ideal.” The three tiers of defense, he said include full protection against infection and

8Sivian Gazit, Roei Shlezinger, et al., Comparing SARS-CoV-2 natural immunity to vaccine-
induced immunity: reinfections versus breakthrough infections, MEDRXIV (Aug. 30, 2021),

hitps://www.medrxiv.org/content/10.1101/2021.08.24.2126241 5vk.

9 A number of earlier reports lend support to the argument that natural immunity may be the
better option. See https://www.precisionvaccinations.com/natural-immunity-after-covid-19-
found-durable-and-robust; https://www.nih.gov/news-events/nih-research-matters/lasting-
immunity-found-after-recovery-covid-19

   
 

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transmission; protection against serious illness and transmission; or protection against
serious illness only.'°

26.

Initial reports placed the COVID Vaccines in the middle tier—protection against serious
illness and transmission. But it is now clear these vaccines belong in the lower tier—protection
against serious illness only.

27.

On the other side of the scale, the COVID Vaccines, like all vaccines, pose certain risks
that vary from patient to patient depending on many factors. Most are non-life threating and _
considered mild; but some are severe. Percentages of outcomes are misleading, because the risk
of an adverse reaction is always 100% for the unfortunate patient who draws the unlucky number.

28.

In 1990, Congress created the Vaccine Adverse Events Reporting System (VAERS) to
track reports of adverse reactions resulting from vaccination. According to VAERS, the reports
of adverse reactions to the COVID Vaccines in only eight months is disproportionately higher than

for all other vaccines since 1990:

 

  

    
    
      

 

 

 

 

 

 

 

VAERS provides important information regarding the risks of vaccinations by giving

perspective to boilerplate language like “safe and effective, with rare side effects,” as assured by

Ochsner regarding the COVID Vaccines.

 

https://wonder.cde.gov/vaers.html

Event: 3 . ieciné “vaccines” TO ae vents...”
Total Adverse Events - 487,724 954,341 | 1,442,065 33.82%
Deaths 6,177 8,913 15,090 40.93%
Life Threatening 7,929 14,474 22,403 35.39%
Hospitalizations 28,067 58,771 86,838 32.32%
Permanent Disabilities 7,107 15,874 22,981 30.93%
Office Visits 94,378 51,223) 145,601 64.82%
ER Visits 64,542 292,682 | 357,224 18.07%

29,

 
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30.

Regarding vaccination of children under the age of 18, the debate is even more
cantankerous. Recently, Dr. Martin Kulldorff, Harvard professor and world-renowned
epidemiologist, emphatically stated that children should not get vaccinated with regard to COVID-
19.1)

31.

The rights of parents to the companionship, care, custody and management of their children
is a fundamental liberty interest warranting great deference and [vigilant] protection under the law.
Stanley v. Illinois, 405 U.S. 645, 92 S.Ct, 1208, 31 L.Ed.2d'551 (1972); Pierce v. Society of Sisters,
268 U.S. 510, 45 S.Ct. 571, 69 L.Ed. 1070 (1925); Meyer v. Nebraska, 262 U.S. 390, 43 S.Ct. 625,

67 L.Ed. 1042 (1923). State in Interest of Three Minor Children, 558 So,2d 1238 (La. App. 1990)

32.

Whether or not to vaccinate for COVID-19 is a personal decision, and is a paramount right
of a parent to determine for their child, and not a matter to be decided by a private entity entangled
in public policy.

COUNT I- BATTERY OF A MINOR
33.

Plaintift [i | years of age at the time of the actions alleged herein.
As a minor, he does not have the legal capacity to consent to the shot administered by Defendant,
Ochsner.

34.

In administering a foreign substance into the body of 4 minor without his legal consent,

Ochsner has committed the intentional tort of batter and is liable to Plains i 2

tort.

35,
Upon information and belief, Defendant, Jefferson Parish School Board, entered into a

contract with Defendant, Ochsner, for the purpose of administering COVID-19 shots to minor

children.

 
 

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36.

It is alleged that Defendant, Jefferson Parish School Board, failed to ensure that Defendant,
Ochsner, would adhere to applicable law regarding obtaining consent from the parents of minor
children prior to administering COVID-19 shots on the campus of East Jefferson High School, and
as such, Defendant, Jefferson Parish School Board is liable to Plaintiff, fa the tort
of battery.

37.

It is further alleged that Defendant, East Jefferson High School, through it administrators,
failed to take proper precautions and/or implement proper procedures in order to protect minor
children in its custody and control from being administered the COVID-19 shots without proper
parental consent and therefore, Defendant, East Jefferson High School is liable to Plait

gee: the tort of battery.

COUNT II - INFLICTION OF EMOTIONAL DISTRESS

 

38.
Prior to administering the COVID-19 shot, none of the defendants herein made any attempt

to contact Plaintiff, Jennifer Ravain, to seek permission for the administration of the shot to her

minor child, Plaint aa

Defendants knew that on the time and date alleged herein that Plaintitt, was

39.

at all times a minor, and that they were legally obligated to obtain the consent of Plaintiff, Jennifer
Ravain, but failed to do so.
40.
Defendant, Ochsner Medical Center — Kenner, L.L.C., based on the widely available

scientific data, and because of their position as a health care provider, knew of the inherent risks

that the COVID-19 shots posed to young healthy males such as Plaintift and failed

to obtain the consent of Plaintiff, Jennifer Ravain, thereby inflicting extreme emotional distress to

Plaintiff, Jennifer Ravain.

10
 

Case DOL- WA Saiaaak UR RAED aaa dagleelels Page 11 of 16

DAMAGES
Al,

As a result of the intentional and/or negligent actions of Defendants: Ochsner Medical
Center — Kenner, L.L.C.; Jefferson Parish School Board; and, East Jefferson High School,
Plaintitts, SE ond Jennifer Ravain have and/or will suffer the following damages:
Jennifer Ravain

a. Loss of Parental Right to Direct the medical care of her minor child as an unwanted
substance has been injected into her son and cannot be removed;

b. Past, present and future emotional distress over the fear of possible side effects and adverse
events to her son associated with widely observable scientific data as it relates to COVID-
19 shots; and,

c. Punitive damages for the intentional and egregious actions of representatives of Defendant,
Ochsner Medical Center — Kenner, L.L.C. in not obtaining parental consent to administer
the COVID-19 shot to a minor in derogation of the law of the State of Louisiana.

a Past, present and future emotional distress caused by the battery of being administered a
COVID-19 shot without legal consent; and,

b. Past, present and future emotional distress of the fear of possible side effects and adverse
events associated with widely observable scientific data as it relates to COVID-19 shots.
WHEREFORE, Plaintiffs pray that the Defendant named herein be served with a copy of

this Petition and be cited to appear and answer it, and that after due proceedings had, there be
Judgment for Plaintiffs and against Defendants named herein.

PLAINTIFFS FURTHER PRAY for all legal interest from date of judicial demand until

paid, for all costs of these proceedings, all expert witness fees and costs of medical reports, and all

other just an equitable relief to which Plaintiffs are entitled.
Case 2:21-us02265-IGZKWR. RACUD Abd sade bAN Rls Page 12 of 16

Please serve the Defendant as follows:

 

Ochsner Medical Center — Kenner, L.L.C,
Through its agent for service of process:
CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

Jefferson Parish School Board

Through Dr. James Gray, Superintendent:
501 Manhattan Blvd.

Harvey, LA 70058

East Jefferson High School

Through Mr. Benjamin Moscona, Principal:

400 Phlox Ave.
Metairie, LA 70001

Respectfully submitted:
LAW OFFICE OF G. SHELLY MATURIN, IT, L.L.C.

t

By CG. SHELLY MATURIN, II (LA. #26994)

shelly@maturinlaw.com]
322 Heymann Blvd., Suite 1

Lafayette, Louisiana 70503

Telephone: 337-362-3514

Facsimile: 337-362-3515

Counsel for Plaintiffs, Jennifer Ravain,

individually, and on behalf of her minor
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MATURIN LAW

G. Shelly Maturin, I
322 Heymann Boulevard, Suite 1, Lafayette, Louisiana 70503
PHONE: 337-362-3514 FAX: 337-362-3515

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Via U.S. Mail : November 3, 2021

Honorable Jon A. Gegenheimer
Clerk of Court

24" Judicial District, Jefferson Parish
Thomas F, Donelon Courthouse

200 Derbigny St., Suite 2400

Gretna, Louisiana 70053

Re:Jennifer Ravain, individually, and on behalf of her minor child, pS v. Ochsner
Medical Center Kenner, L.L.C., et al .
Docket No.: 3 24% JDC; Div.

Our File No.: 00020-2021

Dear Clerk:

Enclosed, please find the original Petition for Damages and Request for Notice as well as my firm check
in the amount of $580.00 made payable to the 24" Judicial District Clerk of Court representing payment
for the filing of said petition as well as my firm check in the amount of $39.36 made payable to East Baton
Rouge Sheriff's Office for service. I would ask that you please file the suit in the record and serve

according to the instructions thereon. Finally, please send my gffice a conformed copy. ,
— Qont- lela) mv Le. -A (L
Should you need any additional information, please do not hesitate toConjact me. /

 

Sincerely,

 

helly Maturin, I]
Attorney at Law

Enclosures “kir-

 
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Case 2:21.91 02365 GTN RAUNT aBlCHa RAR Page 14 of 16

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Angela P. Ingraffia

From: G. Shelly Maturin II <shelly@maturiniaw.com>
Sent: Monday, November 15, 2021 3:02 PM

To: Angela P. Ingraffia

Subject: RE: 822-804 L

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from unknown senders. ,
Thank you very much. | don’t have jeffnet. Is it something | can get on your website?

 

 

From: Angela P. ingraffia <aingraffia@jpclerkofcourt.us>
Sent: Monday, November 15, 2021 2:50 PM

To: G. Shelly Maturin 1 <shelly@maturinlaw.com>
Subject: 822-804 L

Good afternoon, and have received your petition for damages in the case of JENNIFER RAVAIN ETAL VERSUS
OCHSNER MEDICAL CENTER ET AL, we need a civil cover sheet to be filed into the suit. You can mail it in, bring it in, or if
you have jeffnet you can e-file it into the system. You can go on our website www.jpclerkofcourt.us and look for the civil
case reporting form. If you have any questions please feel free to contact me at 504-364-2967 or you can respond to this
email.

 

 

 

 

 

 

 

THANKS,

Angela P. Ingraffia

Deputy Clerk of Court

24th JDC Civil New Suits
Jefferson Parish Clerk of Court
Thomas F. Donelon Courthouse

200 Derbigny St. Ste. 2400

Gretna LA 70053

Phone: (504) 364-2967

 

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